Case 1:21-cv-20039-RNS Document 24 Entered on FLSD Docket 04/21/2021 Page 1 of 3




                           U NITED STA TES D ISTRICT COU RT                  FILED By S C             D.c.
                                          forthe
                                Southern D istrictO fFlorida                       )?2 21 2021
                                     M iam iD ivision                               ANGELA E.NOBLE
                                                                                   CLERKU S DISI CK
                                                                                   s.o.oFF1
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                                                                                               AMl
           JoeM orford
             Plaintiff

                                                      CivilAction N o.     1:21-cv-20039

         M aurizio Cattelan
             D efendant


       AFFIDA V IT IN SU PPORT O F M OTION FOR EN TRY O F D EFA U LT JUD GM EN T

          1.1am the plaintiffin the above-entitled action and lam fam iliarwith thefile,records
  andpleadingsin thism atter.
          2.The sum m onsand com plaintw ere served upon the defendanton 03/17/2021.
          3.Alzanswerto thecomplaintwasdueon 04/07/2021.N oresponsewasservedwithin
  the tim e allow ed by law norhasthe defendantsoughtadditionaltim e w ithin which to respond.
          4.The defaultof defendantw as entered on 04/12/2021.
         5.AsrequiredbytheCivilReliefAct,50U.S.C.app.j521(b),Ihaveconfirmedthatthe
  defendantisnotcurrently in activem ilitary service.
         6.To m y bestinform ation and belief,defendantisnotan infantorincompetentperson.
         7.Theclaim oftheplaintiffisfor:1)GrossProfitsof$690,000.00(US);2)lnjunctive
  R eliefin the fol'
                   m ofthe cessation ofsale,distribution and display ofany infringing m aterial;and
  a11verified CourtCosts.




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Case 1:21-cv-20039-RNS Document 24 Entered on FLSD Docket 04/21/2021 Page 2 of 3




                           UN ITED STATES DISTRJCT COURT
                                          forthe
                                Southern DistrictOfFlorida
                                     M iam iD ivision
           Joe M orford
             Plaintiff

                                                      CivilAction No.       1:21-cv-20039

         M aurizio Cattelan
             D efendant

                                     D EFA ULT JU D G M EN T

  The defendant,M aurizio C attelan,having failed to appear,plead or otherw ise defend in this
  action,anddefaulthavingbeenenteredon04/12/2021,andplaintiffhavingrequestedjudgment
  againstthe defaulted defendantand having filed a properm otion and affidavitin accordance w ith
  FederalRuleofCivilProcedure55(a)and (b);Judgmentisherebyenteredinfavorofplaintiff
  Joe M orford and againstdefendantM aurizio Cattelan,as follow s:

  1)GrossProtitsof$690,000.00(US);2)InjunctiveReliefintheform ofthecessationofsale,
  distribution anddisplayofanyingingingmaterial;and3)al1verifiedCourtCosts.
  Plusinterestonthejudgmentatthelegalrateuntilthejudgmentissatisfied.



                                                                       United StatesDistrictJudge
                         Case 1:21-cv-20039-RNS Document 24 Entered on FLSD Docket 04/21/2021 Page 3 of 3




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